                  Case:15-05375-swd       Doc #:42 Filed: 06/30/16       Page 1 of 1



                          UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 -SOUTHERN DIVISION-

   ____________________________________
   IN RE:
                                                              CASE NO. 15-05375
   John J. Malusek And,
   Jill A. Malusek                                            CHAPTER 13
                 Debtor(s).
                                                              HON. JOHN T. GREGG

                                                              FILED: September 30, 2015
   ____________________________________

                    ORDER APPROVING DEBTORS' SECOND CHAPTER 13
                          POST-CONFIRMATION AMENDMENT

          This matter having come before the Court on Debtors' Second Chapter 13 Post-
   Confirmation Amendment to Chapter 13 Plan, the Court having reviewed same and being
   otherwise fully advised in the premises;

         NOW THEREFORE, IT IS HEREBY ORDERED that the language of the Plan is
   amended and incorporated herein as follows:


   II.     FUNDING
   A.      PLAN PAYMENT The Debtor(s) shall make payments in the amount of $3,684.56 per
            week,  bi-weekly,  semi-monthly,  monthly and/or  Other (see “Additional Plan
           Payment Provisions” below) for the minimum of the Applicable Commitment period
           (ACP).
                   Additional Plan Payment Provisions: Debtors owe the IRS the sum of $2,446
   for income taxes for the tax year 2015. Debtors have paid the IRS the sum of $2,446 and were
   unable to make their full plan payment on March 30, 2016. They have paid $1,000 of their
   regular plan payment of $3,684.56 on March 30, 2016. Beginning April 30, 2016 they will pay
   the plan payment of $3,684.56 plus an additional $100 for a total of $3,784.56. The payment of
   $3,784.56 will continue each month thereafter until the arrearage is paid in full. Once the
   arrearages are paid in full that the plan payment will be reduced to $3,684.56 for the balance of
   the plan.


                                          END OF ORDER




Signed: June 30, 2016
